 Case 1:20-cv-01059-LMB-JFA Document 1 Filed 09/10/20 Page 1 of 7 PageID# 1




  IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
                              VIRGINIA
                                          (Alexandria Division)

_____________________________________________

DONALD JACOBS,                               *
      Plaintiff,                             *
                                             *
v.                                           *                    Civil Action No.:
LOGISTICS MANAGEMENT INSTITUTE               *
                                             *
      Defendant.                             *
_____________________________________________*
                                             *
                                             COMPLAINT

       COMES NOW Plaintiff, Donald Jacobs (“Plaintiff” or “Mr. Jacobs”), by counsel, and

hereby seeks damages for discrimination, retaliation, and failure to accommodate based upon a

disability under the Americans with Disabilities Act, 42 U.S.C. Section § 12101 et seq. (“ADA”)

against Defendant Logistics Management Institute (“Defendant” or “LMI”).

                                     I.       INTRODUCTION

       1.      Plaintiff suffers from disabilities that substantially limit one or more of his major

            life activities, including but not limited to severe renal failure resulting from a

            traumatic injury sustained during Plaintiff’s time in the Marine Corps. Because of

            these conditions Plaintiff is limited in his ability to stand, walk, sleep, and to perform

            other essential life activities. At all material times Plaintiff could perform the

            essential functions of his job as a Senior Acquisition Specialist for Defendant with

            reasonable accommodations.

       2.      In or about November of 2018 until on or about December 13, 2019, Plaintiff was

            employed by Defendant as a Senior Acquisition Specialist. Plaintiff frequently made

                                                   1
Case 1:20-cv-01059-LMB-JFA Document 1 Filed 09/10/20 Page 2 of 7 PageID# 2




         the commute to work from his home in the Richmond, Virginia area to Tysons

         Corner, Virginia, an approximately two (2) hour drive, despite working from home

         being a viable option for such a position.

    3.       Sometime after his hiring, Plaintiff had an appointment with his nephrologist,

         who informed him that such a long commute has been further straining his kidneys

         and liver and recommended that he either shorten his commute or eliminate it

         entirely.

    4.       On or around February 28, 2019, Plaintiff spoke with his supervisor, Michelle

         Kordell (“Ms. Kordell”) and relayed the conversation he had with his nephrologist.

         During this conversation, Plaintiff provided documentation to Ms. Kordell to support

         his request for reasonable accommodation in the form of working from home.

    5.       On or around March 4, 2019 the aforementioned documents were also provided to

         Paula Parker (“Ms. Parker”) of Defendant’s Human Resources department. Plaintiff

         sent these documents to Ms. Parker in order to request that he be permitted to work

         remotely.

    6.       Defendant ultimately denied Plaintiff’s request for reasonable accommodation,

         instead forcing him into taking personal leave

    7.       On or around March 28, 2019, Ms. Kordell approached Plaintiff stating that he

         would have to seek employment in a different position at LMI due to a “lack of

         expertise” that Ms. Kordell alleged was hurting his performance on the contract that

         Plaintiff was working at the time. Ms. Kordell alleged that an unnamed client had

         expressed dissatisfaction with Plaintiff’s work performance, however, Plaintiff had

         not seen any clients since on or around March 5, 2019.



                                              2
Case 1:20-cv-01059-LMB-JFA Document 1 Filed 09/10/20 Page 3 of 7 PageID# 3




    8.       Plaintiff was put on bedrest shortly after his conversation with Ms. Kordell due to

          his physician’s concerns that he would be exacerbating his health issues.

    9.       Ms. Kordell subsequently informed Plaintiff that should he not find other

          employment at LMI by April 5, 2019, she would be forced to terminate Plaintiff’s

          employment.

    10.      Although Ms. Kordell told Plaintiff that he would have until April 5, 2019 to find

          other employment with LMI, Plaintiff received an email on or around April 1, 2019

          from Kaylee Gibson (“Ms. Gibson”) requesting that he return the supplies provided to

          him by Defendant through FedEx.

    11.      Despite Ms. Kordell’s insistence that he seek further employment with LMI,

          obtaining a new full-time position at LMI would require that Plaintiff commute, at

          least in the beginning, to Defendant’s Tyson’s Corner office, two (2) hours away.

    12.      During discussions of Plaintiff’s termination, Ms. Kordell offered Plaintiff only

          one (1) month of severance pay despite Plaintiff’s reliance upon Defendant to provide

          health insurance.

    13.      On or around April 3, 2019, Plaintiff received a text message from a coworker

          stating that this coworker had heard that Plaintiff was removed from his contract with

          Defendant. Plaintiff had not spoken to this coworker about his discussions with Ms.

          Kordell regarding removal from his contract, nor had Plaintiff officially been

          removed from the contract by Ms. Kordell.

    14.      Despite LMI’s threats to terminate his employment on April 5, 2019, Plaintiff

          continued to be employed by LMI until on or around December 13, 2019.




                                               3
Case 1:20-cv-01059-LMB-JFA Document 1 Filed 09/10/20 Page 4 of 7 PageID# 4




    15.      Around late October of 2019, a young woman was hired by Defendant as an

          Auditor. This woman was significantly younger than Plaintiff and not visibly

          disabled. Training took approximately two (2) weeks.

    16.      On or around December 13, 2019, Janna Hawthorne-Simons (“Ms. Hawthorne-

          Simons”) informed Plaintiff that the project that he was working on for Defendant

          had had its funding cut, and that he could work eighty (80) hours for the months of

          December and January, respectively, to function as a transition period.

    17.      Plaintiff’s Project Manager was Stephanie Yingling (“Ms. Yingling”). Despite

          Ms. Hawthorne-Simons informing Plaintiff that his project was losing its funding,

          Ms. Yingling informed Plaintiff that the project was fully funded for an additional

          two (2) years.

    18.      Defendant misled Plaintiff into believing that his project was losing funding as a

          false pretense to terminate his employment due to his disability.

    19.      At all material times Defendant was aware of Plaintiff’s disabilities.

                           II.    JURISDICTION AND VENUE

    20.      This Court has jurisdiction pursuant to 28 U.S.C. § 1331.

    21.      On or before May 3, 2019, Plaintiff timely filed a charge with the United States

          Equal Employment Opportunity Commission (“EEOC”) against Defendant, alleging

          that Defendant failed to provide him with reasonable accommodations, discriminated

          against him because of his disabilities, and terminated his employment in violation of

          the ADA.

    22.      On June 12, 2020 the EEOC issued a Notice of Right to Sue Defendant for

          violation of the Americans with Disabilities Act.



                                               4
Case 1:20-cv-01059-LMB-JFA Document 1 Filed 09/10/20 Page 5 of 7 PageID# 5




    23.        On September 10, 2020 Plaintiff timely initiated the present action.

    24.        Defendant is and at all material times has been an employer of more than 15

          employees within the meaning of the ADA, and regularly transacts business within

          this judicial district.

    25.        Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391. Plaintiff

          was hired, employed, and terminated by Defendant within this judicial district.

                                          III.   PARTIES

    26.        Plaintiff is a citizen of the Commonwealth of Virginia residing in Beaverdam,

               Virginia.

    27.        Defendant is an employer of more than 500 employees and Defendant’s principal

          office address is 7940 Jones Branch Drive, Tysons Corner, Virginia 22102.

                                           IV.   FACTS

    28.        Plaintiff hereby incorporates paragraphs 1 through 25 as if fully set forth herein.

    29.        Defendant terminated Plaintiff’s employment in retaliation for his requests for a

          reasonable accommodation and because of his disabilities in violation of the ADA.

    30.        Defendant denied Plaintiff’s requests for reasonable accommodations in violation

          of the ADA.

          V.      DEFENDANT’S SUBSTANTIVE VIOLATIONS OF THE ADA

    31.        Plaintiff hereby incorporates paragraphs 1 through 30 as if fully set forth herein.

    32.        Defendant has violated the ADA as follows:

          a. Defendant terminated Plaintiff’s employment in violation of the ADA (ADA 42

               U.S.C. § 12101 et seq.).




                                                 5
 Case 1:20-cv-01059-LMB-JFA Document 1 Filed 09/10/20 Page 6 of 7 PageID# 6




          b. Defendant discriminated against Plaintiff in violation of the ADA (ADA 42

              U.S.C. § 12101 et seq.).

          c. Defendant retaliated against Plaintiff in violation of the ADA’s provision against

              retaliation for protected activity (ADA 42 U.S.C. § 12203 et seq).

                                VI.      PRAYER FOR RELIEF

WHERFORE, Plaintiff prays for the following relief:

          a) WHEREFORE, the Plaintiff requests compensatory damages in an amount not to

              exceed $300,000 for the pain and suffering inflicted on him as a consequence of

              Defendant’s discrimination against him because of his disability.

          b) Plaintiff requests compensatory damages in an amount not to exceed $300,000 for

              the pain and suffering inflicted on him as a consequence of Defendant’s retaliation

              against him because he engaged in protected activity under Title V of the

              Americans with Disabilities Act of 1990.

          c) Plaintiff is entitled to punitive damages against the Defendant because it engaged

              in a discriminatory practice or discriminatory practices with malice ore with

              reckless indifference to his federally protected rights under Title V of the

              Americans with Disabilities Act of 1990.

          d) Reasonable attorney’s fees in an amount to be determined at trial.

          e) Plaintiff is entitled to an award of back-pay in an amount to be determined at trial

              for his lost wages and benefits caused by the Defendant’s unlawful conduct as

              described herein.

          f) Plaintiff further prays for such additional relief as the interests of justice

              may require.



                                                 6
 Case 1:20-cv-01059-LMB-JFA Document 1 Filed 09/10/20 Page 7 of 7 PageID# 7




                                     VII.    JURY DEMAND

       Plaintiff demands a trial by jury on all issues so triable.

Respectfully submitted,

DONALD JACOBS
By Counsel


By:    _____________/s/________________________
       THOMAS F. HENNESSY (VSB No. 32850)
       Counsel for Plaintiff
       4015 Chain Bridge Road
       Suite G
       Fairfax, Virginia 22030
       Phone: (703) 865-8836
       Fax: (703) 865-7633
       thennessy@virginiawage.net




                                                  7
